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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Northern District of Oklahoma

 

United States of America )
" 5 Case No. 0-INV- G14 “eS
REDEX LESTER JR.
Defendants
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 25, 2020 in the county of Tulsa in the
Northern District of Oklahoma, the defendant(s) violated:

 

Code Section Offense Description
18 USC 1151, 1153, and 1112 Manslaughter in Indian Country

This criminal complaint is based on these facts:
See Attached Affidavit

if Continued on the attached sheet.

sock

Complainant's signature

Special Agent

ky y\ F Printed name and title

 

Sworn to before me i in my presence.

Date: SAE -0 2 0 eo” oars
Judge 's Signature

City and state: Tulsa, OK United States Magistrate Judge

 

Printed name and title
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AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT
IN THE NORTHERN DISTRICT OF OKLAHOMA

 

I, Steven Colon, being first duly sworn under oath, do hereby depose and state:
INTRODUCTION AND AGENT BACKGROUND
ds I am a “federal law enforcement officer” within the meaning of Federal Rule
of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the
criminal laws and duly authorized by the Attorney General to request a search warrant and

make arrests.

2, Your Affiant, Steven Colon, is a Special Agent with the Federal Bureau of
Investigation (FBI). I am authorized to conduct investigations into violations of Federal law

including major crimes occurring on Indian Country. Your Affiant has been employed with

the FBI since 2018.

3. The facts in this affidavit come from Your Affiant’s personal observations,
training and experience, and information obtained from other agencies and witnesses. This
affidavit is intended to show merely that there is sufficient probable cause for the requested

warrant and does not set forth all of my knowledge about this matter.

4, Based on Your Affiant’s training and experience and the facts as set forth in
this affidavit, there is probable cause to believe that violations of Title 18 United States Code,
Sections 1151, 1153, and 1112 have been committed by Redex Lester Jr., DOB xx/xx/67,

SSN xxx-xx-0674.
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SUMMARY OF THE INVESTIGATION

5, At all times relevant to this Complaint, Redex Lester Jr., according to the
Cherokee Nation of Oklahoma Citizenship Board, was and is a member of Cherokee

Nation.

6. That the incident occurred in Tulsa County, State of Oklahoma, within the
bounds of the Creek Nation Indian Reservation, which is considered Indian Country as

defined in 18 U.S.C. Section 1151.

ie That on May 25th, 2020 by unlawfully, willfully, intentionally and
feloniously, without a premeditated design to effect death, did cause and effect the death of
one Wayne Thomas, while the said defendant was unlawfully engaged in a misdemeanor in
manner and form as follows: Driving Under the Influence of Alcohol, that said defendant
was then and there driving a 2001 GMC Sierra, at or about 5900 South Lewis Avenue in
Tulsa, while under the influence of an intoxicating substance and while so driving said
vehicle, said defendant did then and there drive and propel the vehicle into the path of
another vehicle causing a collision between the two vehicles and did then, there, and
thereby cause to be inflicted upon the body of Wayne Thomas certain wounds and injuries
while Wayne Thomas was a passenger of the opposing vehicle, and the wounds and
injuries were a direct and proximate result of the unlawful acts of defendant as aforesaid,

and from those certain mortal wounds Wayne Thomas did thereafter languish and die on

May 28, 2020.

8. That on May 25th, 2020 Officer N. Cantrell of the Tulsa Police Department

was dispatched to 5600 South Lewis Avenue intersection in reference to a four car
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collision. Cantrell arrived at the crash and observed Redex Lester Jr. walking around the
Sonic fast food restaurant in a staggered fashion. Lester was wearing a black tee shirt and
red shorts. Lester stated that he was not driving the truck, but his wife was and she had left.
Lester later recanted that his wife was present stating he was not thinking right due to being
in and out of consciousness. Cantrell detected an odor of alcohol coming from Lester’s
breath during the conversation. Lester was talking slowly and slurred. Cantrell informed
Lester he was being placed under arrest for suspicion of DUI. Lester was bleeding from his
right forearm which was consistent with where blood was found on the driver’s side right
arm rest inside the truck. Cantrell also discovered a shredded Budweiser can in the front
passenger floor board. Lester consented to a blood draw to be done at the hospital and was
treated for his injuries resulting from the crash. The blood test officer’s affidavit was

completed at this time.

9. That John Ross was the driver of a gray Chevrolet Suburban OK tag
IWRO086 in the south bound lane with Wayne Thomas as his passenger in the front seat.
The Suburban took the brunt of the damage of the collision involving the Sierra. Ross and
Thomas were rushed to Saint Francis Hospital. Ross sustained a left femur fracture and

right ankle fracture. Thomas later died from his injuries.

10. That witness, Walker Miracle, stated he was driving south bound on South
Lewis Avenue in a white Honda Civic OK tag AXC250, when he observed a maroon truck
spin out of control from the north bound side of South Lewis Avenue. The truck spun into

his lane of traffic. He swerved right to get out of its way, but was struck by the rear end of

the truck, possibly the tow hitch.
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11. That witness, Elizabeth Camacho, stated she was driving south bound on
South Lewis Avenue in a green Chevrolet Malibu OK tag EUV122, directly behind the
gray Suburban. Camacho said a purple truck was north bound and swerved in front of the
Suburban causing the collision. She said she slammed on her brakes to try avoiding the
Suburban but slid due to the rain and struck the passenger rear. Camacho suffered from

chest and back pain due to the collision.

12. That witness, Tina Sue Williams, stated she was driving north bound on
South Lewis Avenue in the left most lane. She saw a maroon Chevy truck approach on her
right side, trying to get into her lane and losing control. She observed the truck go sideways
in the opposite lane resulting in a “T-Bone” type collision with the Suburban. A green car

also hit the SUV from behind.

13. That witness, Star Hunt, stated she was working her shift at a nearby Sonic
restaurant when she saw the wreck and a car on fire. She ran over to the collision with a
fire extinguisher. She proceeded to try to help a black man in a black shirt with red shorts
and a shaved head who was passed out with blood coming off his head and mouth. He was

the sole person, the driver of the vehicle, but was claiming to have a woman with him.

14. That on May 25th, 2020, Officers Cantrell and Ackerman of Tulsa Police
Department, gathered measurements for impact calculations later exploited by the Bosch
Crash Data Retrieval System. The Chevrolet Suburban and GMC Sierra were towed from

the scene by Allied Towing of Tulsa and entered in to evidence.
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15, That on July 1st, 2020, the Tulsa Police Department Forensic Laboratory
finalized the blood test report on Lester. The result was 0.239 G/100 M1 alcohol

concentration with a margin of error of 0.017.

16. That on July 15th, 2020, the medical examiner’s office finalized their
investigation. The report concluded that Wayne Thomas died due to multiple blunt force

injuries sustained in the collision.

17. That the suspect is identified as Redex Lester Jr. He has a date of birth in
xx/xx/1970 and the last four of his SSN is 0674. The last known address for the defendant

is 6128 S. Troost Ave., Tulsa, OK 74136.

18. Inconsideration of the foregoing, I believe there is probable cause to believe
Redex Lester has violated Title 18 United States Code, Sections 1151, 1153, and 1112, and

I respectfully request that this court issue a criminal complaint and a warrant for his arrest.

SLac |b

Steven Colon,
Special Agent
Federal Bureau of Investigation
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Subscribed and sworn to befere-me thts day of August 2020.

 

Honorabl@/Jodi F. Jane’
United States Magistrate Judge
